                           Case 4:19-cr-00572-KGB Document 131 Filed 10/30/19 Page 1 of 1
AO 442 (Rev. 01/09) Arrest Warrant


                                           UNITED STATES DISTRICT COURTEASTERNDISTRICTARKANSAS
                                                       Eastern District of Arkansas                                    OCT 3 0 2019
                                                                                                   'if~ES W. ~RMACK, CLERK
                                                                                                     y                                     DEPCLERK
                  United States of America

                                  v.                                            Case No.: 4:19CR00572-03 KGB

                   Cody Alexander Capps

                               Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer
         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)                                         Cody Alexander Capps
who is accused of an offense or violation based on the following document filed with the court:

1K] Indictment             0    Superseding Indictment     •   Information    •   Superseding Information                     Ocomplaint
•   Probation Violation Petition            •   Supervised Release Violation Petition    •    Violation Notice Oorder of the Court

This offense is briefly described as follows: Conspiracy to distribute and possess with intent to distribute,,a controlled
substance (fentanyl), Possession with intent to distribute a controlled substance (fentanyl), as further~plained in the
attached documents.                                                                                        .._,.:,
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Date: October 3, 2019
                                                                                             Issuing officer's signature

City and state:        Little Rock, Arkansas                                            JAMES W. MCCORMACK, CLERK
                                                                                              Printed name and title

                                                                  Return

     This warrant was received on (date) __t!l_~~-~~I~"/ _ _ _ , and the person was arrested on (date)                         /c -1 ,., -fr
at (city and state) (_,::f,f[t,«. [llf {L ;tA.

Date:    t,,- 1 '1-,   1
                                                                                          Arresting officer's signature



                                                                                               Printed name and title
